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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
KIRKPATRICK DUNBAR,
                                        Plaintiff,
                                                                           COMPLAINT
                     -against-
                                                                          Civil Action No.
787 COFFEE ROASTERS LLC                                                     1:22-cv-9968
AND 317 EAST 14TH STREET
CORP.,
                                          Defendants.
--------------------------------------X


            Plaintiff, KIRKPATRICK DUNBAR, (“Plaintiff”), by and through his counsel, The

Marks Law Firm, P.C., hereby files this Complaint and sues 787 COFFEE ROASTERS LLC, a

domestic limited liability company, and 317 EAST 14TH STREET CORP., a domestic limited

liability company, both registered in the State of New York, (hereinafter collectively

“Defendants”), for a) injunctive relief, b) compensatory relief, and c) attorney fees and costs

pursuant to 42 U.S.C. 12181, et. Seq., of the Americans with Disabilities Act (“ADA”), the New

York Human Rights Law (“NYCHRL”), and the New York State Human Rights Law

(“NYSHRL”) and alleges:

                                  JURISDICTION AND PARTIES

     1. This is an action for declaratory and injunctive relief pursuant to Title III of the ADA, 42

U.S.C. § 12181, et. Seq. This Court is vested with original jurisdiction under 28 U.S.C. §1331 and

§1343.

     2. Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events giving

rise to this lawsuit occurred in the State of New York.
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      3. The violative Premises and the events giving rise to this lawsuit are located at 319 East

14th Street, New York, NY 10003. (hereinafter “Premises”).

      4. Venue is proper in this Court as the premisves is located in the State of New York, County

of New York.

      5. The Defendants 787 COFFEE ROASTERS LLC and 317 EAST 14TH STREET CORP.

are each authorized to conduct and are conducting business within the State of New York.

      6. Upon information and belief, 787 COFFEE ROASTERS LLC is the lessee and/or operator

of the real property, and the owner of the improvements where the Premises is located which is

the subject of this action. Defendant also maintains and controls the Premises.

      7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants’ Premises is a

place of public accommodation in that it is an establishment which provides goods and services

to the public.

      8. Upon information and belief, 317 EAST 14TH STREET CORP. is the owner, lessor

and/or operator and managing agent of the real property where the Premises is located, which is

the subject of this action, which also maintains and controls the Premises.

      9. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or Premises

which is the subject to this action is a public accommodation covered by the ADA and which must

be in compliance therewith.

      10.        The remedies provided by the NYSHRL against discrimination are not exclusive

and state administrative remedies need not be exhausted in connection with suits brought under

the Federal Civil Rights Act.

      11.        At the time of Plaintiff’s visits to the Premises, and prior to the instant action,

Plaintiff was, and still is, a resident of the City and State of New York. Plaintiff is a paraplegic,
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which constitutes a “qualified disability” under the ADA of 1990. Plaintiff uses a wheelchair for

mobility.

      12.       On July 13, 2022, Plaintiff last attempted to enter Defendants’ Premises, which is

about 9 miles from his home where he hangs out with his friends on a regular basis as its near an

accessible train entrance, to purchase their signature Puerto Rican style coffee and snacks while in

the area. However, because of the architectural barriers at the entrances of the store, such as the 3

steps down into the property at the entrance, Plaintiff was denied full and equal access to, and full

and equal enjoyment of, the facilities at Defendants’ Premises, which is subject to this instant

litigation.

      13.       Plaintiff is routinely in the neighborhood, exploring the neighborhood, eating at

restaurants, and visiting the major thoroughfare. Plaintiff has attempted to enter Defendants’

Premises on multiple occasions in the past, but continues to be denied access, and therefore

suffered an injury in fact. Plaintiff is currently deterred from going to the store based on his

knowledge of the barriers to access that exists and intends on immediately returning to the

Premises to purchase coffee once the barriers are removed and the Premises is ADA compliant.

      14.       Defendants’ violations impede upon Plaintiff’s, and other similarly situated disabled

individuals’ right to travel free of discrimination. Defendant has been sued at its other location in

the past, yet chose to ignore its obligations at law to line its pockets with money at Plaintiffs

detriment.

      COUNT I - VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

      15.       The ADA prohibits discrimination on the basis of disability. The Act guarantees

reasonable accommodations for individuals with disabilities to ensure they are not the subject of

discrimination.
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     16.      The ADA and 2004 ADA/ABA Accessibility Guidelines for Buildings and

Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR Part 36, Subpart D, the

New Construction and Alterations portion of Title III (all hereinafter referred to as the “2010

Standards” or “Accessibility Standards”) dictate that property owners and operators of

commercial premises being used as “commercial establishments” are responsible for complying

with these Federal Accessibility Standards.

     17.      The Plaintiff is informed and believes, and therefore alleges that the Premises has

begun operations and/or undergone substantial remodeling, repairs, and/or alterations since

January 26, 1990.

     18.      Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others that are similarly situated, by denying full and equal access to and full and equal

enjoyment of goods, services, facilities, privileges, advantages, and/or accommodations at

Defendants’ Premises, in violation of these Accessibility Standards.

     19.      The Plaintiff has been unable to and continues to be unable to enjoy full and equal

safe access to, and the benefits of, all the accommodations and services offered at Defendants’

Premises.

     20.      Plaintiff visited Defendants’ Premises with the intention of utilizing Defendants’

facilities, but was denied access to the Premises, and therefore suffered an injury in fact. In

addition, Plaintiff continues to reside in New York and continues to desire to visit the Premises

in the future, but will suffer future harm in that he is unable to access the Premises and continues

to be discriminated against due to the architectural barriers which remain at the Premises, all in

violation of the ADA, and New York State and City Human Rights Law.
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     21.      Pursuant to the mandates of 42 U.S.C. §12134(a), On July 26, 1991, the

Department of Justice, Office of Attorney General, promulgated Federal Regulations to

implement the requirements of the ADA, known as the American with Disabilities Act

Accessibility Guidelines (hereinafter “2010 ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $55,000 for the first violation and $110,000 for

any subsequent violation.

     22.      The Defendants’ Premises is in violation of 42 U.S.C. §12181 et. Seq., ADA and

the 2010 Standards, and is discriminating against the Plaintiff as a result of inter alia the

following specific violations:

               a. The total vertical rise of accessible route leading from public sidewalk is greater

                   than ½ (one-half) inch due to three six-inch steps leading to the accessible

                   entrance to 787 Coffee and thus, the accessible route is not ramped in

                   compliance with section 405 or 406, this is a violation of section 303.4 of the

                   2010 ADAAG standards. This barrier to access would make it dangerous and

                   difficult for Plaintiff to access this unit of the Property because the vertical rise

                   in the form of stairs would make it almost impossible for Plaintiff to safely

                   access the interior of the public accommodation.

               b. At 787 Coffee, due to three steps leading to the accessible entrance, the Property

                   lacks an access route from site arrival points such as the public streets and

                   sidewalks to the accessible entrance in violation of section 206.2.1 of the 2010

                   ADAAG standards. This barrier to access would make it dangerous and difficult

                   for Plaintiff to access the Property.
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   c. At 787 Coffee, due to three steps leading to the accessible entrance, the

      accessible route leading into this public accommodation contains at least one

      vertical rise in excess of ¼ inch in violation of section 303.2 of the 2010

      ADAAG Standards.         This barrier to access would make it difficult and

      dangerous for Plaintiff to attempt to utilize the accessible route as it increases

      the likelihood of the wheelchair tipping.

   d. At 787 Coffee, due to three steps leading to the accessible entrance, the

      maneuvering clearance of the accessible entrance is not level in violation of

      Section 404.2.4 of the 2010 ADAAG standards. This barrier to access would

      make it difficult for Plaintiff to access this unit of the Property since it is often

      necessary for individuals in wheelchairs to need to use their hands to both wheel

      through the doorway and keep the door open with another hand. When the

      maneuvering clearance is not level, this ordinarily difficult process is made

      even more difficult by the presence of an excessive vertical rise.

   e. At 787 Coffee, there is not at least 5% (five percent) of the dining surfaces, both

      inside and outside, provided for consumption of food or drink that comply with

      Section 902.2 of the 2010 ADAAG standards, requiring appropriate knee and

      toe clearance complying with Section 306 of the 2010 ADAAG standards,

      positioned for a forward approach, in violation of Section 226.1 of the 2010

      ADAAG standards. If Plaintiff were to eat at the Property in the future, this

      barrier to access would prevent Plaintiff from using the dining surfaces

      currently present as Plaintiff’s own feet would block Plaintiff’s ability to access

      the dining surfaces.
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                 f. The total vertical rise of accessible route leading from public sidewalk is greater

                     than ½ (one-half) inch due to three steps leading to the accessible entrance to

                     Ely’s and thus, the accessible route is not ramped in compliance with section

                     405 or 406, this is a violation of section 303.4 of the 2010 ADAAG standards.

                     This barrier to access would make it dangerous and difficult for Plaintiff to

                     access this unit of the Property because the vertical rise in the form of stairs

                     would make it almost impossible for Plaintiff to safely access the interior of the

                     public accommodation.

                 g. There is no visual indication of a policy or procedure to address the inability for

                     a disabled individual to enter 787 Coffee that can be seen from the public

                     sidewalk.

                 h. Defendants fail to adhere to a policy, practice and procedure to ensure that all

                     facilities are readily accessible to and usable by disabled individuals.

      23.        Upon information and belief, there are other current violations of, inter alia, the

ADA at Defendants’ Premises, and only once a full inspection is done can all said violations be

identified.

      24.       To date, the architectural barriers and other violations of the ADA still exist, the

removal of which is readily achievable and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA or to create access to the Premises.

      25.       Pursuant to ADA, 42 U.S.C. §1201 et. Seq. and the Accessibility Standards, the

Defendants were required to make the Premises, a place of public accommodation, accessible to

person with disabilities since January 28, 1992. To date, the Defendants have failed to comply

with this mandate.
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      26.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff injunctive relief; including an order to alter the Premises to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by ADA, and

order the closing of the Subject Facilities until the requisite modifications are completed.

COUNT II – VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

      27.      Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “26” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      28.      The New York City Human Rights Law provides:

                    a. It shall be an unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent or employee of

                        any place or provider of public accommodation because of the actual or

                        perceived…disability…of any person, directly or indirectly, to refuse,

                        withhold from or deny to such person any of the accommodations,

                        advantages, facilities or privileges thereof…to the effect that any of the

                        accommodations, advantages, facilities and or denied to any person on

                        account of…disability…

                        NYC Admin. Code §8-107(4)(a).

      29.       Defendants are in violation of the New York City Human Rights Law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.
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      30.      Defendants’ unlawful discriminatory conduct constitutes willful and wanton

violations of the Administrative Code for which Plaintiff is entitled to an award of punitive

damages. Admin. Code §8-502.

COUNT III – VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

      31.      Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “30” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      32.      The New York State Human Rights Law provides:

                    a. It shall be unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent, or employee of

                        any place of public accommodation…because of the…disability…of any

                        person, directly, or indirectly, to refuse, withhold from or deny to such

                        person any of the accommodations, advantages, facilities, or privileges

                        thereof…to the effect that any of the accommodations, advantages,

                        facilities and privileges of any such place shall be refused, withheld from

                        or denied to any person on account of…disability…

                        NYS Exec. Law §296 (2)(a).

      33.       Defendants’ Premises is a place of public accommodation as defined in the New

York State Human Right Law.

      34.      The Defendants have further violated the New York State Human Rights Law by

being in violation of the rights provided under the ADA.
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     35.       Defendants are in violation of the New York State Human Rights law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.

                                        PRAYER FOR RELIEF

     36.       The Plaintiff demands compensatory damages in an amount to be determined by

proof, including all applicable statutory damages and fines, for violations of their civil rights

under New York State Human Rights Law and City Claw, including compensatory damages

contemplated by §297(4)(c).

     37.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the Premises to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, the

New York City Human Rights Law, and the New York State Human Rights law, and closing the

Subject Facilities until the requisite modifications are completed.

     38.       Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by

state and federal law;

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants joint and

severally and requests the following injunctive and declaratory relief:

                   a. The Court declares the Premises owned, operated, leased, controlled,

                         and/or administered by the Defendants are in violation of the ADA, the

                         New York City Human Rights Law, and of the New York State Human

                         Rights Law;

                   b. The Court enter an Order requiring the Defendants to alter their facilities

                         and amenities to make them accessible to and usable by individuals with
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                  disabilities to the full extent required by Title III of the ADA and by

                  NYCHRL, and the NYSHRL;

               c. The Court enter an order directing the Defendants to evaluate and

                  neutralize their policies, practices and procedures toward persons with

                  disabilities, for such reasonable time to as to allow the Defendants to

                  undertake and complete corrective procedures to the Premises;

               d. The Court award compensatory damages, including all applicable

                  statutory damages and fines, to Plaintiff;

               e. The Court award reasonable attorney fees, all costs (including but not

                  limited to court costs, expert fees, etc.) and other expenses of suit to the

                  Plaintiff; and

               f. The Court award such other and further relief as this Court deems

                  necessary, just and proper.

Dated: New York, New York
       November 22, 2022


                                        THE MARKS LAW FIRM, PC

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KIRKPATRICK DUNBAR,

                              Plaintiff,

              -against-

787 COFFEE ROASTERS LLC AND 317 EAST 14TH STREET CORP.,



                              Defendants,


                          SUMMONS AND COMPLAINT




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